
52 So.3d 844 (2011)
Fabian MATTHEWS, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-687.
District Court of Appeal of Florida, Fourth District.
February 9, 2011.
Fabian Matthews, Sunrise, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Joseph A. Tringali, Assistant *845 Attorney General, West Palm Beach, for appellee.
PER CURIAM.
The State concedes that appellant's letter should have been treated as a motion to correct a scrivener's error in court documents. This matter is reversed and remanded. Wells v. State, 796 So.2d 1276 (Fla. 4th DCA 2001).
Reversed and remanded.
GROSS, C.J., HAZOURI and LEVINE, JJ., concur.
